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' 90 UNITED STATES DISTRICT COURT
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ORDER OF PRODUCTION
NO= 1:97-01'-1 0007-02-T

 

USA v. Johnny B. Cox
AD Prosequendum
FOR: Re-Sentencing

TO: USM, Westem District of TN
Warden, FCI Mernphis, 1101 'John A. Denie Road,
Memphis, TN 38134

YOU ARE HEREBY COMMANDED to have the person of JOHNNY B. COX, lnmate
# 15689-076, by you restrained of his/her liberty, as it is said, by Whatsoever names detained,
together with the day and cause of his being taken and detained, before the Honorable J ames D.
Todd, U. S. District Court Judge, for the Western District of Tennessee, at the room of said Court,
in the City of Jackson, Tellnessee, at 8:30 a.m. on the 19th day of October, 2005, then and there
to do, submit to, and receive Whatsoever the said Judge shall then and there detemiine in that behalf;
and have you then and there this Writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct.

ENTERED THIS g ‘/Jz];AY OF O¢l/W , 20 §§
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JAME!%S. TODD
UNlr sTA'rEs DISTRICT IUDGE

 

Th'ls document entered on the docket sheet ln compliance

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 133 in
case 1:97-CR-10007 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Victor Lee lvy

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109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

